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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     BORREGO COMMUNITY HEALTH                          Case No.: 22-cv-01056-BEN-KSC
       FOUNDATION, a California Nonprofit
12
       Public Benefit Corporation,                       ORDER GRANTING JOINT
13                                                       MOTION FOR EXTENSION OF
                                        Plaintiff,       TIME TO RESPOND TO FIRST
14
                                                         AMENDED COMPLAINT
15     v.
16
       KAREN HEBETS, an individual; et al.,
17                                                       [ECF No. 165]
                                     Defendants.
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20          On April 12, 2023, Plaintiff Borrego Community Health Foundation (“Plaintiff”)
21    and Defendant Karen Hebets filed a Joint Motion for Extension of Time for Defendant to
22    Respond to Plaintiff’s First Amended Complaint (the “Joint Motion”). ECF No. 165.
23    Good cause appearing, the Court GRANTS the Joint Motion. Accordingly, Defendant
24    Karen Hebets shall file her responsive pleading on or before May 9, 2023.
25          IT IS SO ORDERED.
26    Date: April 14, 2023                           __________________________________
27                                                          Hon. Judge Roger T. Benitez
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